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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 JOEL VANGHELUWE and
 JEROME VANGHELUWE,

        Plaintiffs,
                                                       Case No. 18-10542
 v.                                                    Honorable Laurie J. Michelson
                                                       Magistrate Judge Elizabeth A. Stafford
 GOT NEWS, LLC, et al.,

       Defendants.
 _____________________________________/

             ORDER TO ATTEND SCHEDULING CONFERENCE AND
       NOTICE OF REQUIREMENTS FOR SUBMISSION OF DISCOVERY PLAN

        The parties are hereby directed to appear for a Case Management and Scheduling
 Conference (the “Conference”) on April 18, 2019, at 2:00 p.m. in the chambers of the Honorable
 Laurie J. Michelson, 231 West Lafayette, Room 838, Theodore Levin U.S. Courthouse, Detroit,
 Michigan.

         The purpose of this Conference is to make the Court aware of the issues involved, discuss
 the possibility of settlement, discuss the proportionality of the discovery process, and to establish
 appropriate case management dates. Prior to the Conference, counsel shall have a meaningful
 meet and confer in order to prepare a Joint Case Management Report/Discovery Plan (the
 “Plan”) in accordance with Federal Rule of Civil Procedure 26(f). The Plan shall follow the
 format and address the Agenda Items listed below. The Plan must be filed with the Court no later
 than five (5) calendar days before the Conference. If any party is proceeding without counsel,
 separate Plans may be filed. Following the Conference, the Court will enter its own Case
 Management and Scheduling Order.

        The following Agenda Items are to be addressed in the written Plan:

                   1. Related Cases: Identify any pending related cases or previously
            adjudicated related cases.

                    2. Jurisdiction: Explain the basis of the Court’s subject-matter jurisdiction
            over the Plaintiff’s claims and Defendant’s counter-claims. Plaintiff should also
            identify any pendant state law claims. If any Defendants remain unserved, explain the
            plan to complete service.

                      3. Venue: Explain why venue is proper in this Court.
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                 4. Factual Summary: Provide a brief description of the nature of the action
         and a summary of Plaintiff’s claims and Defendant’s defenses. Identify the core
         factual issues that are likely to be most determinative for this dispute.

                5. Legal Issues: Identify the legal issues genuinely in dispute. Also identify
         any dispositive or partially dispositive issues appropriate for decision by motion or by
         agreement.

                6. Amendment of Pleadings: Identify any anticipated amendments of
         pleadings to add or delete claims, defenses, or parties. The Court expects the parties
         to be familiar with the Federal Rules of Civil Procedure regarding amendment of
         pleadings, including those rules that pertain to amendment as of right.

                 7. Discovery: (a) Summarize the discovery each party intends to pursue,
         including expert witnesses, and any anticipated disputes; (b) Explain how the
         discovery process will satisfy the proportionality requirements of Fed. R. Civ. P.
         26(b)(1) (by, as examples, identifying the most important subjects and the most
         accessible sources of information about those subjects; stating how the parties intend
         to balance the costs of discovery with the amounts at stake in the litigation; and
         explaining how the parties intend to pursue only that discovery that is truly necessary
         to resolve the case); (c) Pursuant to paragraph (b), identify every parties’ three (3) key
         witnesses that should be deposed first and the key documents that should be produced
         up front, as well as any other arrangements for exchanging initial disclosures required
         by Fed. R. Civ. P. 26(a)(1); (d) indicate whether any document requests have been
         delivered pursuant to Fed. R. Civ. P. 26(d); and (e) address whether there is a need for
         a protective order or a confidentiality order pursuant to Federal Rule of Evidence
         502(d).

                 8. Electronic Discovery: Explain the agreement reached by the parties’ for
         the preservation and discovery of electronic discovery and whether implementation
         of this District’s Model Order Relating to the Discovery of Electronically Stored
         Information                                    (http://www.mied.uscourts.gov/pdffiles/
         SteehEsiOrderChecklist.pdf) is warranted. The parties are also encouraged to consult
         this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically
         Stored Information, attached to the Model Order linked to above. At the very least,
         the parties’ agreement should cover (a) the ESI to be preserved; (b) the form in
         which any ESI will be produced (i.e., native format, PDF, paper, etc.); (c) whether to
         limit discovery of ESI to particular sources or custodians, at least as an initial matter;
         and (d) search terms or methods to be used to identify responsive materials.

                 9. Settlement: Explain the prospects for settlement and whether the parties
         are interested in Case Evaluation (see E.D. Mich. LR 16.3) or other methods of
         alternate dispute resolution, without indicating the positions of each side. Identify the
         discovery that would be most helpful in evaluating likelihood of settlement.
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                    10. Consent: Indicate jointly whether the parties consent to the jurisdiction of
            a United States Magistrate Judge as provided in 28 U.S.C. § 636(c) and Federal Rule
            of Civil Procedure 73.

                   11. Trial: Identify whether this will be a jury or bench trial and the estimated
            length of trial. Also identify when each side can be ready for trial.

                    12. Miscellaneous: Identify any other matters any party considers conducive
            to the just, speedy, and efficient resolution of this matter.

        Each party shall appear personally or by counsel and be prepared to address these Agenda
 Items. For good cause, however, the Court will consider conducting the conferences by
 telephone. Requests are to be directed to the Case Manager at the number below.

      Required rules, forms, and pretrial practices are available on the Court’s website at
 www.mied.uscourts.gov and Judge Michelson’s Practice Guidelines.



                                                      s/Laurie J. Michelson
                                                      LAURIE J. MICHELSON
 Date: March 15, 2019                                 U.S. DISTRICT JUDGE



                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 and any unrepresented parties via the Court=s ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on March 15, 2019.

                                                      s/William Barkholz
                                                      Case Manager
                                                      (313) 234-5098
